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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge William J. Martínez

  Civil Action No. 18-cv-1462-WJM-KLM

  JOHN DOE,

        Plaintiff,

  v.

  PHILLIP DISTEFANO, Chancellor for the University of Colorado Boulder, and
  THE BOARD OF REGENTS FOR THE UNIVERSITY OF COLORADO,

        Defendants.


       ORDER GRANTING STIPULATED MOTION TO DISMISS WITH PREJUDICE


        This matter comes before the Court on the Parties’ Stipulated Motion to Dism iss

  with Prejudice, filed October 28, 2019 (ECF No. 57). The Court having reviewed the

  Stipulation and being fully advised hereby ORDERS as follows:

        The Parties’ Stipulated Motion to Dismiss is GRANTED. The above-captioned

  action is hereby DISMISSED WITH PREJUDICE. Each party shall pay his or its own

  attorney’s fees and costs.


        Dated this 29th day of October, 2019.

                                                BY THE COURT:



                                                _______________________
                                                William J. Martínez
                                                United States District Judge
